                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION
                              Criminal No. 5: 17-CR-157-D
                                Civil No. 5:21-CV-412-D


    DAVID .KAREEM TURPIN,                       )
                                                )
                         Petitioner,            )
                                                )
          V.                                    )                   ORDER
                                                )
    UNITED STATES OF AMERICA,                   )
                                                )
                         Respondent.            )




           Having examined petitioner's motion pursuant to Rule 4(b) of the Rules Governing

    § 2255 Proceedings, the United States Attorney is DIRECTED to file an Answer pursuant

    to Rule 5, Rules Governing § 2255 Proceedings, or to make such other response as

\   appropriate to the above-captioned § 2255 Motion to Vacate, Set Aside or Correct

    Sentenc~, within forty (40) days of the filing of this order.



           SO ORDERED. This _Li day of October, 2021.




                                            JAES C. DEVER Ill
                                            UNITED STATES DISTRICT JUDGE




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